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Attorneys for Plaintiff


                     IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF ALASKA

  UNITED STATES OF AMERICA,                  )   No. 3:21-cr-00074-JMK-DMS
                                             )
                          Plaintiff,         )
                                             )
         v.                                  )
                                             )
  MICHAEL EDWARD ROZA,                       )
                                             )
                          Defendant.         )
                                             )

       UNOPPOSED MOTION FOR PROTECTIVE ORDER FOR DISCOVERY

       The United States of America, by and through the undersigned counsel, moves for

a protective order from the Court restricting the distribution of discovery in the above-

captioned case pursuant to Federal Rule of Criminal Procedure 16(d)(1). The United

States requests that discovery containing Protected Information, as well as any audio,

video, photographic, or digital discovery containing the image, voice, or any other




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identifying information for any Confidential Human Source or other eyewitness not be

left in the custody of any defendant and not be distributed, shown, or made available to

individuals other than the defendant, his defense attorney(s), defense investigators, or

experts or consultants specifically retained by defendant’s counsel (hereinafter “Defense

Team”). The defense team shall not allow any person outside the defense team to read,

view, or access the protected material; use the protected material for any purpose other

than preparing a defense in this case; make copies of protected material for the use of any

person outside of the defense team; give copies of any protected material to the

defendant; or allow copies of any protected material to remain at any detention facility.

       This discovery will be labeled as “protected material.”

       Further, the United States requests that the order require Defense Counsel to

advise all members of the Defense Team of the terms of this protective order, and to

require all members of the Defense Team to make a good faith effort to prevent

unauthorized distribution of Protected Information. In addition to Protected Information

relating to the CHS and any eyewitness, as well as the CHS or eye-witness’ image and

voice, information about the CHS and eyewitness to be protected includes the CHS and

eye-witness’ name or any other information that can be used directly or indirectly to

identify or locate the CHS or eyewitness.

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                        “Good Cause” Exists to Restrict Discovery

       Fed R. Crim. P. 16(d)(1) provides:

       At any time the court may, for good cause, deny, restrict, or defer discovery
       or inspection, or grant other appropriate relief. The court may permit a
       party to show good cause by a written statement that the court will inspect
       ex parte. If relief is granted, the court must preserve the entire text of the
       party’s statement under seal.

       The discovery in this case contains information detailing Protected Information, as

well as reports and recordings detailing the work of a Confidential Human Source (CHS)

and the statements of one or more eyewitnesses. These reports provide sufficient detail to

allow the defendant to identify the CHS and eyewitnesses. This detail includes specific

information about dealings the CHS had with the defendant, as well as the CHS’s image

and voice.

       The United States seeks to limit disclosure of Protected Information and

information relating to the CHS and eyewitnesses to the Defense Team. The United

States is unaware of any reason why any person other than members of the Defense Team

should have access to Protected Information or information relating to the CHS or

eyewitnesses in this case.

       “Good cause” exists in this case to restrict discovery for several reasons. The

restriction is necessary in order to protect the legitimate privacy interests of those

identified in the discovery, as well as to protect the safety of the CHS eyewitnesses and

others associated with these individuals. The disclosure of protected personal information

about witnesses and other individuals related to the case may subject those individuals to


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harassment or harm ongoing criminal investigations. The unnecessary disclosure in

discovery of private information may also have a chilling effect on the willingness of

those witnesses to cooperate.

       Furthermore, the nature of this case makes this protective order essential. This

case involves drug trafficking, and the United States is aware of similar cases within this

District where discovery relating to cooperating witnesses has been disclosed, or attempts

to disclose that information have been made. In some instances, these disclosures and

attempts at disclosure have been the result of in-custody defendant’s having access to

information about cooperating witnesses, including their voices or pictures, and being

able to leverage the collective knowledge of the in-custody population to identify the

cooperator, and to relay information about that individual to persons outside the jail. Such

disclosures can place cooperating witnesses at risk, and have a chilling effect on their

continued cooperation. These risks are magnified when discovery containing identifying

information about cooperating witnesses is left in the jail with in-custody defendants.

Because the discovery in this case contains details about CHS and eyewitnesses,

including their voices, these individuals’ safety may be jeopardized by unauthorized

distribution of discovery.

       On August 10, 2021, the undersigned counsel for the United States contacted the

attorney for the defendant in the above captioned matter, who non-opposed such an order.

       The United States submits that there is good cause to restrict discovery in this

fashion, and requests that the Court enter an order restricting discovery.


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       RESPECTFULLY SUBMITTED this 11th day of August, 2021, in Anchorage,

Alaska.

                                         E. BRYAN WILSON
                                         Acting United States Attorney

                                         s/ Yunah Chung
                                         YUNAH CHUNG
                                         Assistant U.S. Attorney


CERTIFICATE OF SERVICE

I hereby certify that on August 11, 2021,
a true and correct copy of the foregoing
was served electronically on the following:

Amanda Harber

s/ Yunah Chung
Office of the U.S. Attorney




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